IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
__________

 

 

 

AT KNOXVILLE

BERNERD JACQUES, )
)
Plaimiff, )
)

v. ) No.

) Jury Trial Demand

)
KNOX COUNTY SCHOOLS, )
)
Defendant. )
)

COMPLAINT

The Plaintiff, BERNERD JACQUES, appears by and through counsel and sues the

Defendant, KNOX COUNTY SCHOOLS, and would show this Honorable Court as follows:

PARTIES. JURISDICTION AND VENUE

l. Plaintiff, Bernerd Jacques, resides in Corryton, Tennessee, and thus resides in the
Eastern District of Tennessee and this is the district where all his claims arose. Plaintiff is 63-
years-old. Plaintiff was employed by Knox County Schools for approximately two years until
his wrongful termination based on retaliation and/or age discrimination on or about May 27,
2011 after he complained about and reported comments by his school principal he believed to be
racially biased.

2. Defendant, Knox County, Tennessee dba Knox County Schools, is a
governmental entity in Knox County, Tennessee, in the Eastern District of Tennessee. At all

pertinent times, Plaintiff was employed by Defendant, Knox County Schools, in Knox County,

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Tennessee. Defendant, Knox County Schools, may be served with process by serving Dr. James
P. McIntyre, Jr., Knox County Schools Superintendent, 912 S. Gay Street, Knoxville, TN
37901.

3. All acts and occurrences complained of occurred in the Eastern District of
Tennessee.

4. This is a civil action brought pursuant to the Civil Rights Act of 1964, § 701, et
al., as amended, 42 U.S.C. § 2000e, et seq.; and other state and federal laws as set out herein. In
this action, Plaintiff seeks compensatory damages, attorney fees, and all other relief as law and in
equity allowed.

5. Jurisdiction of the Court is predicated upon 28 U.S.C. 1331 (F ederal Question)
and 1343 (Civil Rights) and 42 U.S.C. 2000€-5 and 28 U.S.C. § 1367 (pendent).

6. Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 predicated upon
the aforesaid residence and principle place of Plaintiff and Defendants.

7. The amount in controversy herein exceeds Seventy-Five Thousand Dollars
($75,000.00), exclusive of costs and interest.

8. Plaintiff has complied with the requirements set forth in 29 C.F.R. 1601 .13; 42
U.S.C. 2000e-(c) and 42 U.S.C. 2000e-5(f). The EEOC mailed Plaintiff a right to sue letter on

April 30, 2013. Exhibit A hereto.

FACTUAL ALLEGATIONS
9. As an employer, Defendants owed Plaintiff a duty pursuant to 42 U.S.C. § 2000e,

et seq.

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a. Not to limit, segregate or classify Plaintiff in a way that deprived or intended
to deprive him of an employment opportunity or otherwise adversely affect
his status because of his age or because of race.

b. Not to cause and/or condone age or race discrimination or harassmentl

c. Not to develop or implement a plan or course of action to intimidate and
harass employees over age 40 or due to race.

d. Not to develop or implement a procedure that has the effect of intimidating
employees over age 40 or due to their complaining about age or race
discrimination

e. Not to develop or implement a procedure or course of action to retaliate
against employees due to their age of over age 40 or due to race from
opposing or complaining of harassment, age/race discrimination or other
violations of law.

That during the tenure of Plaintiff‘s employment with the Defendant, he was victimized
by Defendant and/or its agents and employees in the following manners:

f. Terms of employment were not equal With employment terms for similarly
situated employees under age 405

g. Subjected to unwelcome treatment, directly and indirectly, because of his age;

h. Subjected to ageist / racist comments, statements, inferences, gestures, and
Other conduct.

i. Subjected to disparate work assignments and other actions by Defendant,

including more performance evaluations than other teachers were subjected to

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for the purpose of building a file with falsified negative evaluations for use as
the basis for ending Plaintiffs employment with Defendant

j. Subjected to harassing, hostile, retaliatory and intimidating employment
environment based upon conduct set forth in the preceding paragraphs
directed toward Plaintiff;

k. Subjected to other forms of harassment/age discrimination/retaliation, which
may be revealed throughout the course of litigation;

10. Plaintiff incorporates by reference the averments of previous paragraphs of this
Complaint as if fully set forth in each of the following cause of action.

11. That Plaintiff is a member of protected classes by virtue of his age (63), as well as
resulting from his having made complaints of unlawful actions to the Knox County Schools', and
therefore is entitled to the protections afforded by the aforesaid federal and state statutory
provisions

12. That neither Plaintiff’ s age or race was a term, requirement or condition of
employment with the Defendants nor did his age or race affect his job performance.

13. That Defendant, currently and at all relevant times during Plaintiff s employment,
had twenty or more employees.

14. Accordingly, Defendant, Knox County Schools, at all times pertinent hereto was
an employer with the meaning of 42 U.S.C. 2000e, et seq. as well as subject to any public
policies of the State of Tennessee relative to age, race, sex or gender discrimination and

retaliation

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15. That as a result of its status as an “employer,” Defendant at all times owed a duty
to the Plaintiff pursuant thereto not to discriminate or harass based upon age, race, sex or gender,
with respect to employment, compensation, terms or other conditions and privileges of
employment

16. That as a result of its status as an “ernployer,” Defendants at all times owed a duty
to the Plaintiff pursuant thereto not to condone or otherwise take retaliatory actions for
opposition to such discriminatory conduct

17. Plaintiff specifically alleges that when he reported what he believed to be racially
biased and discriminatory comments made by his Knox County Schools principal Aldridge to
both the Knox County Schools (to Nancy Maland) and to the EEOC, the Knox County Schools
which never responded to Plaintift’s concern, instead, thereafter retaliated against Plaintiff with
negative performance evaluations and, thereafter, termination of his employment with Knox
County Schools and refusal to renew his contract

18. Plaintiff further alleges that after retaliating against him and taking the adverse
employment action which terminated his employment with the K_nox County Schools, Defendant
Knox County Schools articulated one or more false “reasons” for his termination of employment
which were “Pretext” and not the true discriminatory and retaliatory motivational reasons for
their illegal actions against Plaintiff.

19. That Defendant articulated as its rationale that Plaintiff failed to meet the required

teaching standards

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20. That the State of Tennessee evaluated Plaintiffs teaching effectiveness and
deemed him at or above the required standards Therefore, Plaintiff alleges Defendant's
articulated rationale for the termination was pretext

21. That Defendant Knox County Schools is responsible for all acts committed by its
officers, managers, agents, supervisors and employees while acting within the scope of their
employment

22. Defendant, through its employees, including its supervisors and managers,
exercised control over the terms and conditions of those persons employed at the Knox County
Schools, including, but not limited to, Plaintiff

23. There was a severe and pervasive ageist discriminatory hostile work environment
at Defendant Knox County Schools.

24. Some of the severe and pervasive continuing age discrimination and retaliation in
the Defendants’ totality Workplace which humiliated, embarrassed, degraded and otherwise
harmed Plaintiff include:

a. Principal Ashley Aldridge, Plaintiff’s immediate supervisor, made racially
derogatory and demeaning comments about minority students of color stating
“ we must care for our brown children.”

b. Principal Ashley Aldridge called Plaintiff old-fashioned.

c. Principal Ashley Aldridge told Plaintiff we don't do things like that anymore.

d. Principal Ashley Aldridge told Plaintiff things are not the same as back when
you were in school.

e. Principal Ashley Aldridge told Plaintiff your teaching methods are outdated.

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f. Principal Ashley Aldridge told Plaintiff you have old fashioned teaching
methods

g. The abusive, humiliating, embarrassing hostile workplace made it difficult for
Plaintiff to do his job and interfered with the terms and conditions of his
employment with the Knox County Schools.

25. The Defendant harassed Plaintiff because of Plaintiffs age.

26. The Defendant also harassed, retaliated and discriminated against Plaintiff
because of his complaint about the use of racially derogatory and demeaning comments by
Principal Ashley Aldridge about minority students of color which Plaintiff reported to Knox
Schools' management and the EEOC. She never made comments in the presence of minority
Students or minority staff.

27. The Defendant failed to take prompt, corrective and remedial measures to stop the
harassment and correct the hostile environment

28. Plaintiff reported the age bias comments and behavior two separate times, both of
which were ignored by Defendant First to Nancy Maland in a Principals evaluation (December
2010). Second, to Christine Williams in an email dated February 6, 2011. These reports were
before Defendant thereafter terminated his employment

29. The Defendant thereafter retaliated against Plaintiff for being a “whistle blower”
first by putting him under heightened scrutiny, then by giving him multiple bad performance
evaluations in retaliation for his whistle-blowing, finally by terminating his employment and

denying him tenure.

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30. Defendant Knox County Schools was aware of the age discrimination and
condoned it

31. Defendant had a duty to maintain a safe working environment for its employees
and to supervise its employees and correct and discipline employees who harass other
employees, thereby making the work environment unsafe.

32. Defendant breached that duty and the work environment became unsafe for
Plaintiff.

33. As a direct and proximate cause and result of Defendant’s breach, Plaintiff
suffered economic and personal harm, including severe mental distress

34. The Plaintiff has sustained severe emotional distress and mental anguish as the
direct result of the discriminating harassing hostile work environment and retaliation by the
Defendants Plaintiff was humiliated and embarrassed

35. Plaintiff incorporates by reference the averments of all previous paragraphs of this

Complaint, as if set forth in each of the following causes of action.

COUNT ONE

Age & Race Discrimination and hostile Work environment in violation
of Title VII and the ADEA.

36. Defendant, Knox County Schools, is liable to Plaintiff for compensatory damages

for age, race, discrimination and hostile work environment as further set forth in this Complaint

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COUNT TWO

Statutory (Title VII, ADEA) and
Retaliation

37. Defendant, Knox County Schools, is liable to Plaintiff for compensatory damages

for retaliation, as further set forth in this Complaint

COUN'I` THREE
Outrageous Conduct

38. Plaintiff avers that Defendant, Knox County Schools, participated in and engaged
in a pattern of conduct for an extensive period of time that was so outrageous, extreme and
shocking to the conscience that it is not to be tolerated in a civilized society.

39. Plaintiff avers that this Defendant acted with intent to cause serious and severe
emotional injuries to Plaintiff, and with reckless disregard of the consequences of its conduct

40. Plaintiff avers that Defendant had first-hand knowledge of the outrageous,
extreme and shocking conduct against Plaintiff and failed to take immediate action to stop it and
prevent harassment from recurring in the future.

41. Plaintiff avers that the extreme and outrageous conduct of the Defendant was a
proximate cause of Plaintiff's damages, including, but not limited to, serious and severe mental

and emotional distress, as further set forth in this Complaint

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COUNT FOUR
Negligence
42. Defendant, Knox County Schools, is liable to Plaintiff for compensatory damages
for negligence, as further set forth in this Complaint Said negligence includes, but is not limited

to negligent supervision and negligent retention of Principal Ashley Aldridge.

COUNT FIVE
Wrongful Termination
43. Defendant, Knox County Schools, is liable to Plaintiff for compensatory damages

for wrongful termination as further set forth in this Complaint

DAMAGES

44. Plaintiff adopts by reference all preceding paragraphs as though fully restated.

45 . As a direct and proximate result of Defendant’s unlawful employment practices
and tortuous acts, Plaintiff has lost and will continue to lose substantial income including, but not
limited to, wages and fringe benefits, as such Plaintiff requests an award of back and front pay as
determined by the proofs.

46. As a further direct and proximate result of Defendant's unlawful employment
practices and tortuous acts, Plaintiff has suffered the indignity of harassment and discrimination
severe humiliation, loss of professional standing and status in the community, irreparable harm
to his reputation and an invasion of his rights to be free from harassment discrimination and

retaliation Plaintiff requests an award commensurate with the proofs.

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47. As a further direct ad proximate result of Defendant’s unlawful employment
practices and tortuous acts, Plaintiff has suffered personal injuries including, but not limited to,
extreme and severe mental anguish, outrage, severe anxiety about his future and his ability to
support himself at the same level as before the adverse employment action against him, harm to
his employability and earning capacity, embarrassment among friends and co-workers,
undermining of self-esteem and motivation

WHEREFORE, Plaintiff prays as follows:

l. Order Defendant to reimburse Plaintiff for all back pay and fringe benefits lost to
date, with interest, along with damages for humiliation, embarrassment pain and suffering and
other damages allowed by law, to render him whole from Defendant’s unlawful acts
commensurate with the proofs in this matter;

2. Award Plaintiff the costs of litigation, including reasonable attorney fees and
witness fees, and all other allowable litigation expenses pursuant to 42 U.S.C. § 2000e, et seq.
and the ADEA.

3. Enter judgment against Defendant in the amount of Seven Hundred Fifty
Thousand Dollars ($750,000.00) compensatory damages

4. Award Plaintiff front pay in the amount of $218,862.70 (five times the amount of
annual wages Knox County Schools reported to TCRS regarding Plaintiff‘s annual salary).

5. Grant whatever additional at law and in equity relief appropriate and just,
including front pay.

PLAINTIFF DEMANDS A JURY TO TRY ALL ISSUES.

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OATH

l, BERNERD JACQUES, hereby make oath that l have read the foregoing Complaint and that
the contents of the same are true this 23"1 day of July, 2013.

 

 

STATE OF TENNESSEE
COUNTY OF KNOX

Before me, a Notary Public of the County and State aforesaid, personally appeared BERNERD
JACQUES, personally known to me, and who executed the foregoing instrument, and acknowledged
that he executed the same as his free act and deed.

Sworn to and subscribed before me this 23"‘ day of July, 2013.

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Submitred for PlaintiffBernerd Jacques

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TOr Mr. Bernerd Jacques me: Nashvll|e Area Office
3611 Fu|ton Road 220 -Athens Way
Corryton, TN 37721 Suite 350

Nashville, TN 37228

 

m On behalf of person(s) aggrieved whose identity is
CONF!DENTiAL {29 CFR §1601.7(ai)
EEOC Charge No. EEOC Representative Telephone No.
Deborah K. Walker,
494-201 2-00123 Supervlsory investigator (615) 736-21 09

 

THE EEOC lS CLOS|NG lTS F|LE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americens With Disabitilies Act.
The Resbondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other words, you waited too long after the dale(s) of the allege
discrimination to file your charge

The EEOC issues the following determination'. Based upon its investigationl the EEOC is unable to conclude that tl'
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance wll
the statutes No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge

Other (briei‘iy slate)

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- NOTICE OF SU|T RIGHTS -

(See the additional information attached to this form)

Tltle Vll. the Americans with Disabilitles Act, the Genetlc information Nondiscriminatlon Act, ortho Age
Dlsertmlnation in Ernployment Act: This will be the only notice of dismissal and of your right to sue that we will send yo
You may tile a lawsuit against the respondenl(s) under federal law based on this charge in federal or state courtl Your
lawsuit must be filed WtTHlN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (Tl'ie time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years 13 years
before you file suit may not be collectible.

On behalf ot _1 e Q mmission
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Sarah L. Smith, (Daie Maried}
Area Office Dlrector

Enclosures(s) -7

661 KNOXV|LLE COUNTY SCHOOLS
Attn: Ms. Rebecca W. Owens

Director, Benefits & Employee Relatlons
P.O. Box 2188

912 South Gay Street
Knoxvllle, TN 37901

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COST BOND SURETY

We hereby acknowledge ourselves as principal (Bernerd Jacques) and as surety (Attorney
George Underwood) for the costs of this cause to the extent required by law.

Respectfully submitted this 26th day of luly, 2013.

/j;___ ___J_¢

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